                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA                     )      DOCKET NO. 1:04CR74-6
                                             )
               vs.                           )      ORDER TO DESTROY EVIDENCE
                                             )
STEPHEN CARL WEBSTER                         )


       THIS MATTER is before the Court upon the Government's motion for destruction of

evidence.

       For the reasons stated in the Government's motion and for good cause shown, the Court

finds that the firearms identified in the motion, which are now in the possession of the McDowell

County Sheriff’s Office, should be destroyed in accordance with the usual procedure for the

destruction of such evidence.

       IT IS, THEREFORE, ORDERED that the Government's motion to destroy evidence is

hereby GRANTED, and the following firearms are ordered destroyed in accordance with the

usual procedure for the destruction of such evidence:

       Smith & Wesson .44 Magnum Revolver w/speed loader (no serial number)
       Vam Dist. .22 Single Shot Pistol, S/N 100738
       Russian SKS KBI Inc. 7.62mm (w/three magazines), S/N RH029100
       Champion Single Shot 12 Gauge Shotgun (no serial number)
       Mossberg 12 Gauge Pump Shotgun w/scope (no serial number)
       Marlin .22 Rifle, S/N 02174562
       Bryco Semi-Auto 9mm pistol, S/N 1404788 (w/two magazines)
       High Standard Inc. Derringer .22 Pistol (no serial number)
       12 Gauge Shotgun, S/N 1459763




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                                 Signed: April 2, 2007




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